                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANTHONY WILSON and                       *
KIMBERLY WILSON, the parents             *
of Martez Wilson, and the ESTATE         *         CIVIL ACTION FILE
OF MARTEZ WILSON,                        *         NO. 1:17-cv-00634-ELR
                                         *
             Plaintiffs,                 *
                                         *
V.                                       *
                                         *
CITY OF DOUGLASVILLE, GA,                *
OFFICER COYLEE DANLEY, et                *
al.,                                     *
                                         *
             Defendants.                 *

     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS BRYAN
      PORTERFIELD AND SEAN FLACK’S MOTION TO EXCLUDE
        OPINIONS OF PLAINTIFFS’ EXPERT DR. KRIS SPERRY

       COME NOW defendants Bryan Porterfield and Sean Flack (collectively

referred to herein as “these defendants”) and, pursuant to Local Rule 7.1, submit this

memorandum of law in support of their motion to exclude the opinions of plaintiffs’

expert witness, Dr. Kris Sperry, showing the Court as follows:

                             I.     INTRODUCTION

       This Section 1983 case arises from the arrest and medical assessment of

decedent Martez Wilson, who died from a rare medical event – cardiac arrest from

metabolic abnormalities as a result of exercise collapse associated with sickle cell
                                          1
trait (“ECAST”). In an effort to link the alleged omissions of these defendants to

the death of Wilson, Dr. Sperry opines as follows: (1) the cause of Wilson’s death

resulted from exercise collapse associated with sickle cell trait;1 (2) the initial

treatment for a suspected ECAST event is primarily support through the

administration of oxygen and the provision of fluids in order to prevent further

damage and possible death;2 (3) had Wilson been promptly supplied with oxygen

and fluids at the site of his arrest by these defendants, it is more probable than not

that he would have survived;3 and (4) had Wilson been transported to a hospital, it

is more probable than not that he would have survived.4

      As addressed below, it is undisputed that the pathophysiology of ECAST

remains poorly understood, and, given the rarity of occurrences and high-morality

rates, there is no clinically-established treatment or “cure” for ECAST. As such,

Dr. Sperry concedes he is not qualified to opine about treatment for ECAST

patients.5   Yet, he renders a survivability opinion based on purported peer-

reviewed studies that do not exist. Dr. Sperry’s opinions are no more than ipse

dixit conclusions of a forensic pathologist with no experience in the clinical


1
  Kris Sperry Depo., p. 139, l:4-10, attached as Exhibit A.
2
  Id., p. 152, l:8-14.
3
  Id., p. 160, l:5-25, p. 161, l:1-12.
4
  Id., p. 180, l:10-25, p. 181, l:1-3.
5
  Id., p. 32, l:9-10, p. 143, l:10-16, p. 25, l:10-16.
                                          2
treatment of ECAST patients.       Without the benefit of Dr. Sperry’s ipse dixit

“causation” opinions, these defendants are entitled to summary judgment for the

reasons set out in their motion for summary judgment.

             II.   ARGUMENT AND CITATION OF AUTHORITY

A.      The Analytical Framework for Excluding Expert Testimony

        Federal Rule of Evidence 702 governs the admissibility of expert testimony.

              If scientific, technical, or other specialized knowledge
              will assist the trier of fact to understand the evidence or
              to determine a fact in issue, a witness qualified as an
              expert by knowledge, skill, experience, training, or
              education may testify thereto in the form of an opinion or
              otherwise, if (1) the testimony is based upon sufficient
              facts or data, (2) the testimony is the product of reliable
              principles and methods, and (3) the witness has applied
              the principles and methods reliably to the facts of the
              case.

        Rule 702 and the Supreme Court’s decisions in Daubert v. Merrell Dow

Pharm., Inc.6 and its progeny make clear that district courts act as gatekeepers,

excluding evidence unless is it reliable and relevant. At all times the district court

must still determine the reliability of the opinion, not merely the qualifications of

the expert who offers it. See Kumho Tire, 526 U.S. at 149 (“We conclude that

Daubert’s general principles apply to the expert matters described in Rule 702. The

Rule, in respect to all such matters, establishes a standard of evidentiary
6
    509 U.S. 579, 597 (1993).
                                          3
reliability.”) Thus, the district court generally engages in a three-part inquiry

derived from Rule 702 to determine the admissibility of expert testimony. Quiet

Tech. DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1340-41 (11th Cir.

2003). First, the expert must be qualified to testify competently regarding the

matter he or she intends to address. Second, the methodology used must be reliable

as determined by a Daubert inquiry. Third, the testimony must assist the trier of

fact through the application of expertise to understand the evidence or determine a

fact in issue. Tuscaloosa v. Harcros Chemicals, Inc., 158 F.3d 548, 562 (11th Cir.

1988). See also Cook v. Sheriff of Monroe Cnty., Fla., 402 F.3d 1092, 1107 (11th

Cir. 2005) (expert testimony cannot be admitted unless all of the criteria are met).

The same standard applies to all expert testimony, including testimony regarding

scientific, technical, and other specialized matters. Kumho Tire Co. v. Carmichael,

526 U.S. 137, 147 (1999).

       For the reasons discussed below, Dr. Sperry’s opinions fail to meet all three

criteria for admissibility.

B.     Dr. Sperry is Not Qualified to Testify Competently Regarding
       Treatment of ECAST

       Rule 702 requires that an expert be “competent and qualified by knowledge,

skill, experience, training, or education to render the opinion.” Leathers v. Pfizer,

Inc., 233 F.R.D. 687, 692 (N.D. Ga. 2006) (internal quotation marks and citation
                                         4
omitted); Fed. R. Evid. 702. See also Siharath v. Sandoz Pharms. Corp., 131 F.

Supp. 2d 1347, 1351 (N.D. Ga. 2001) (“The expert must be qualified in his field of

expertise.”). Witnesses who lack sufficient relevant qualifications must be

excluded as incompetent. See Trumps v. Toastmaster, Inc., 969 F. Supp. 247, 252

(S.D.N.Y. 1997) (mechanical engineer not competent to provide opinions on issue

involving electrical engineering); Everett v. Georgia-Pacific Corp., 949 F. Supp.

856, 857 (S.D. Ga. 1996) (physician not competent to testify on cause of plaintiff’s

medical condition because he practiced in area of family medicine and surgery and

possessed no specialized knowledge or training in field of toxicology; expert must,

at a minimum, possess some specialized knowledge about field in which he is to

testify); McLendon v. Ga. Kaolin Co., 841 F. Supp. 415, 417-19 (M.D. Ga.

1994) (witness not competent to testify about quantity, quality, or value of kaolin,

when he had taken only survey course in geology in college, had minimal work

experience with kaolin evaluation, lacked knowledge of treating kaolin, did not

know outer limits of uses of kaolin, and had no knowledge of royalties used in

kaolin leases).

      A witness may not qualify—through reading and preparation—as an expert

in “an entirely different field or discipline.” Trilink Saw Chain, LLC v. Blount,

Inc., 583 F. Supp. 2d 1293, 1304 (N.D. Ga. 2008) (citation omitted). Instead, he

                                         5
must “stay within the reasonable confines of his subject area.” Id. “Thus, many

courts have excluded testimony when they determine that the witness is testifying

to an area outside of—but related to—[his] expertise.” Id. (citing Wheeling

Pittsburgh Steel Corp. v. Beelman River Terminals, Inc., 254 F.3d 706, 715 (8th

Cir. 2001)); Redman v. John D. Brush & Co., 111 F.3d 1174, 1179 (4th Cir. 1997).

      This is exactly the case here. Dr. Sperry is a forensic pathologist, which is a

subspecialty of pathology limited to the investigation of undetermined or

questionable deaths. (Sperry Depo., p. 33, l:7-17). It can also include the

interpretation of the cause of injuries in living and deceased individuals. (Id. at 90,

l:18-24.) He does not treat patients, nor is he involved in recommending

therapeutic procedures. (Id. at 25, l:19-22.) Nothing in Dr. Sperry’s training,

experience, or education makes him qualified to opine as to the treatment for an

ECAST event.7 Indeed, Dr. Sperry concedes that he does not hold himself out to

be an expert as it pertains to clinical experience with sickle cell patients, including

those experiencing ECAST and would defer to a hematologist.8 (Id. at 32, l:9-10, p.


7
  Moreover, Dr. Sperry admittedly is not an expert in the field of EMS or first
responders. (Sperry Depo., p. 150, l:2-5.)
8
  In particular, Dr. Sperry testified that such a hematologist would likely be at
Emory University. (Sperry Depo., p. 26, l:4-18.) Dr. Carlton Dampier, a clinical
hematologist and professor at Emory University School of Medicine with a focus
in pediatric sickle cell disease, agrees that Dr. Sperry is not an expert as it pertains
to the clinical diagnosis and treatment of ECAST. (See Expert Report of Dr.
                                           6
143, l:10-16, p. 25, l:10-22 (“Q: Would you consider yourself an expert with

respect to sickle cell trait? A: In a sense. I’m not a hematologist and so it’s not

something that I, you know, routinely diagnose or treat patients, you know, with

sickle cell trait. So I would wouldn’t consider myself an expert in, you know,

clinical aspects, no.”).)

      The mere fact that Dr. Sperry holds a medical degree is not sufficient to

render him an expert in the entire field of medicine. See Berry v. City of Detroit,

25 F.3d 1342, 1352 (6th Cir. 1994) (“It is like declaring an attorney an expert in

the ‘law.’ A divorce lawyer is no more qualified to opine on patent law questions

than anyone else, and it is a mistake for a trial judge to declare anyone to be

Carlton Dampier, p. 4, (“Sperry is not qualified as a sickle cell trait or sickle cell
disease expert and is unable to give an expert opinion as to clinical recognition and
treatment of exercise collapse associated with sickle trait. This is based upon his
field of medical training, education and experience, in addition to his deposition
testimony where he demonstrated a significant misunderstanding of many aspects
of the hematology of sickle trait and of current understanding of ECAST. For
example, he erroneously stated that the military has successfully introduced
interventions that have reduced ECAST events when the reality is that the military
has a strict protocol to reduce exertional heat illness during recruit training but
ECAST continue to occur in other settings; his description of pathophysiology and
treatment of sickle cell crises was incorrect; his description of sickling of sickle
trait cells was completely incorrect as he misunderstand the intracellular
distribution of sickle hemoglobin in sickle trait erythrocytes; his description of the
interpretation of the post-mortem electrophoresis was incorrect; and his perception
that ECAST is potentially a common consideration in African-Americans with
difficulty breathing and altered mental status is no[t] only incorrect, but clinically
implausible.”), attached as Exhibit B.)

                                          7
generically an expert.”). To the contrary, courts have excluded expert testimony

that might implicate the expert’s field or discipline if the expert has no specific

experience or background with the topic in dispute and has not satisfied the court

that he has obtained expertise in regard to the topic in preparation for litigation.

See, e.g., U.S. v. Brown, 415 F.3d 1257, 1269 (11th Cir. 2005) (upholding district

court’s refusal to qualify a chemistry consultant as an expert in controlled

substances because he did not have a chemistry degree and had only worked with

the chemical substance at issue in the case on “isolated projects”); Wright v. Case

Corp., 2006 WL 278384, at *3 (N.D. Ga. Feb. 1, 2006) (finding that a mechanical

engineer was not qualified to testify that the product at issue was defective or to

offer alternative designs because he “ha[d] very little experience with the

machinery at issue.”).

       Given Dr. Sperry’s admitted lack of competence in hematology and

complete lack of training, experience, knowledge, and skill as it relates to the

clinical diagnosis and treatment of ECAST, he is not qualified to render opinions

in this case.

C.     Dr. Sperry’s Opinions Are Unreliable and Speculative

       Assuming, arguendo, that Dr. Sperry was competent to proffer ECAST-

related opinions, he has failed to set forth a reliable basis upon which his

                                         8
conclusory opinions were formed.          When an expert’s “factual basis, data,

principles, methods, or their application are called sufficiently into question, ... the

trial judge must determine whether the testimony has a ‘reliable basis in the

knowledge and experience of [the relevant] discipline.’” Kumho, 526 U.S. at 148

(quoting Daubert, 509 U.S. at 592). As the United States Supreme Court has

stated, “‘knowledge’ connotes more than subjective belief or unsupported

speculation.” Daubert, 509 U.S. at 590. “Time and credentials in a field alone do

not create a sufficient basis for testimony; an expert must provide specific

explanation of his or her methods and reasoning to insure his or her conclusions

rest upon a reliable basis.” Spears v. Cooper, 2008 WL 5552336 (E.D. Tenn.,

Nov. 17, 2008).

      Speculative expert testimony is not reliable because it is not based on

sufficient facts or data or on scientific principles and methods. Under Rule 702, it

is the Court’s gatekeeping duty “to ensure that speculative, unreliable expert

testimony does not reach the jury under the mantle of reliability that accompanies

the appellation ‘expert testimony.’” Rink v. Cheminova, Inc., 400 F.3d 1286, 1291

(11th Cir. 2005) (internal quotation marks omitted); see also United States v. 0.161

Acres of Land, 837 F.2d 1036, 1040 (11th Cir. 1988) (“Certainly where an expert’s

testimony amounts to no more than a mere guess or speculation, a court should

                                           9
exclude his testimony.”); Boucher v. U.S. Suzuki Motor Corp., 73 F.3d 18, 22 (2d

Cir. 1996) (per curiam) (“Admission of expert testimony based on speculative

assumptions is an abuse of discretion.”). A district court must not simply “‘tak[e]

the expert’s word for it.’” Edwards v. Shanley, 580 Fed. Appx. 816, 823, (11th Cir.

2014) (inner citations omitted). “If admissibility could be established merely by

the ipse dixit of an admittedly qualified expert, the reliability prong would be, for

all practical purposes, subsumed by the qualification prong.” United States v.

Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004).

      Here, even a superficial examination of Dr. Sperry’s opinions and deposition

testimony establishes that he cannot tie his conclusions to accepted medical

standards of care for clinically diagnosing and treating ECAST, because there are

none.9 Similarly, there is no basis for Dr. Sperry’s survivability opinion. Such



9
  Dr. Sperry relies upon five articles in support of his opinions: Richard D.
Quattrone, et al., Exercise Collapse Associated with Sickle Cell Trait (ECAST):
Case Report and Literature Review, Current Sports Medicine Reports, Vol. 14,
Issue 2 (March/April 2015), attached as Exhibit C; Blinder, Morey, Exertional
Sickling: Questions and Controversy (2014), attached as Exhibit D; O’Connor,
Francis G., et al., ASCM and CHAMP Summit on SCT: Mitigating Risks for
Warfighters and Athletes (July 2012), attached as Exhibit E; Azza A. G. Tantawy,
The Scope of Clinical Morbidity in Sickle Cell Trait, The Egyptian Journal of
Medical Human Genetics (Aug. 2014), attached as Exhibit F; Geoffrey Tsaras, et
al., Complications Associated with Sickle Cell Trait: A Brief Narrative Review,
The American Journal of Medicine (2009), attached as Exhibit G. (Sperry Depo.,
p. 112, Exhibits 6, 7A-D.)
                                         10
opinions amount to pure ipse dixit – “it is because I say so,” and thus, must be

excluded.

      1. Dr. Sperry Has No Reliable Basis to Insinuate That These Defendants
         Should Have Recognized an ECAST Event

      Dr. Sperry admits (and the other experts agree) that these defendants, as first

responders to the arrest scene, would have no capability to diagnose an ECAST

event in the field. (Sperry Depo., p. 150, l:10-11, p. 151, l:5-8; Dampier Report, p.

4; Robert Krause Depo., p. 155, l:10-13, attached as Exhibit H.) At the same time,

Dr. Sperry makes the preposterous assertion that, because Wilson appeared to be

an African-American with complaints of difficulty breathing, these defendants

should have considered sickle cell trait on the differential. (Sperry Depo., p. 71,

l:4-7 (“And, of course, having someone who is of African lineage should give, you

know, a clue to the possibility that there’s a sickle cell trait maybe, you know, the

underlying culprit.”); p. 148, l:18-25.)        There is no credible basis for such a

ludicrous assertion.

      First, there is no medical basis for first responders to assume that individuals

that appear to have “African lineage” and breathing difficulty is suffering from

ECAST. As noted, ECAST is an incredibly rare event and there are much more

common considerations in evaluating individuals with breathing symptoms.

(Carlton Dampier Depo., p. 121, l:2-12, attached as Exhibit I.) Thus, ECAST is not
                                           11
going to be a medical provider’s first diagnosis. (Id.) And outside of the military

and hematology communities focused in sickle cell disease and trait, this event is

not well-known. (Id.) Further, no one would expect EMS personnel to recognize

or diagnose an ECAST event. (Sperry Depo., p. 150, l:10-11 (“No one

could…make that diagnosis.”); Dampier Report, p. 4.) In fact, essentially no one

can make ECAST diagnosis during the event; instead, ECAST is usually diagnosed

post-mortem. (Sperry Depo., p. 142, l:1-3, p. 143, l:22-24; Dampier Depo., p. 121,

l:3-12.)

      There is no evidence or data to even suggest that these defendants should

have realized that Wilson was experiencing an ECAST event on the night of the

incident. Thus, any opinion that even implies that they should have considered

such a diagnosis as a possibility is absurd and must be excluded as unreliable.

      2. Dr. Sperry Has No Reliable Basis to Opine That Treatment for a
         Suspected ECAST Event Consists of Oxygen and Fluids

      Despite his admitted lack of qualifications as it pertains to the diagnosis and

treatment of an ECAST event, Dr. Sperry opines that the initial treatment for a

suspected10 ECAST event is the administration of oxygen and provision of fluids in


10
  Dr. Sperry’s treatment recommendation relies on the assumption that the medical
provider recognizes the patient is experiencing an ECAST event. (Sperry Depo., p.
167, l:3-14.) As discussed above, it was impossible for these defendants to know
that.
                                         12
order to restore tissue and organ perfusion and oxygenation to prevent further

damage and possible death.11 Dr. Sperry is unable to cite any competent support

for this opinion. (Sperry Depo., p. 167, l:3-6, p. 168, l:8-25, p. 169, l:1-21, p. 171,

l:9-19, p. 173, l:4-25, p. 174, l:1-2, pp. 183-84.) This should not be surprising

because there are none.

      As a threshold matter, ECAST is a rare event that has been difficult to study

in the medical field. (Sperry Depo., pp. 50-52, p. 139, l:4-10; Tsaras Article, p.

509; Blinder Article, p. 66.) The majority of case reports are comprised from

events occurring in college athlete and warfighter populations.12 The articles upon

which Dr. Sperry relies make clear that there are no controlled studies

documenting ECAST events or incidence rates. It is unrealistic (and unethical) to

perform a well-controlled, hypothesis-driven, prospective study to examine sickle

cell trait and exertional collapse in association with ECAST. (O’Connor Article, p.

2053; Sperry Depo., p. 173, l:13-25, p. 174, l:1-2.) Predictably, there are no well-

controlled interventional trials on persons experiencing an ECAST event.
11
    Dr. Sperry forms this opinion although he admits that essentially no one,
including these defendants, would have the capability to diagnose or recognize an
ECAST event in the field; instead, ECAST is usually diagnosed post-mortem.
(Sperry Depo., p. 142, l:1-3, p. 143, l:22-24; Dampier Depo., p. 121, l:3-12.).
Thus, Dr. Sperry is essentially opining that while these defendants are not capable
of diagnosing or recognizing an ECAST event, they should have administered the
proper treatment for such an event.
12
   See Quattrone Article, p. 3; Blinder Article; O’Connor Article.
                                          13
(O’Connor Article, p. 2051.)

      While the pathophysiology of these events remains poorly understood,13

current models suggest a process of extreme exertion causing acidosis, hypoxia,

hyperthermia, and dehydration leading to diffuse muscle cellular injury and

extreme metabolic disturbances, principally hyperkalemia, with subsequent

cardiovascular collapse and sudden death from cardiac arrhythmias. (Dampier

Report, p. 3.) However, there are numerous variables present in an ECAST event

that are still unknown, and these variables differ from patient to patient. (Sperry

Depo., p. 137, l:4-20; Quattrone Article, p. 4.) Furthermore, there is no known

correlation between those variables and survivability. (Sperry Depo., p. 137, l:21-

25, p. 138, l:1-12.)

      Given the lack of peer-reviewed studies and understanding of the

pathophysiology of an ECAST event, there are no evidence-based guidelines for

managing an ECAST event.14 (Sperry Depo., p. 166, l:14-18; O’Connor Article, p.


13
  Blinder Article, p. 68.
14
   The O’Connor article states that the best practice for warfighters experiencing
suspected ECAST is following chain of survival and prompt execution of an
effective emergency action plain emphasizing rapid recognition and early
intervention. However, there is no evidence or data stating that such an
intervention is beneficial to the patient or resolves the event. (O’Connor Article, p.
2052.) The Blinder article comments directly on this – (“National Athletic
Trainers’ Association has made recommendations on preventative measures
including longer rest and recovery periods between conditioning repetitions,
                                         14
2052; Blinder Article, p. 66 (“Recommendations and guidelines that are in place

for the early recognition of ECAST and the prevention and treatment of the illness

are not well defined and remain fragmented.”).)        In other words, there is no

established clinical treatment for someone experiencing ECAST. Not one of Dr.

Sperry’s articles states that oxygen and fluids “treat” an ECAST event.15 There is

simply no data to support the notion that any intervention treats or resolves the

event.16 Thus, these articles cannot form the basis for the “treatment” opinion that

Dr. Sperry seeks to provide.

      In truth, optimal treatment of ECAST is undefined and is usually a medical


exclusion from performance tests, hydration, and available supplemental O2.
Whether this approach will prove effective in preventing ECAST remains
controversial.”) (Blinder Article, p. 67.) (Emphasis added.)
15
   The Tsaras article suggests that an event is managed as a medical emergency
with high flow oxygen administration, saline infusion for presumed
rhabdomyolysis, and appropriate use of external defibrillation. (Tsaras Article, p.
510, FN 33.) However, the article cites to a consensus statement issued by the
National Athletic Trainers’ Association, which does not cite to any studies, data, or
sources to support this statement. (See Consensus Statement, attached as Exhibit
J.) Thus, there is absolutely no reliable, substantiated basis to support Dr. Sperry’s
opinion.
16
   A closer reading of the literature shows that there are recommendations for
preventative measures, including careful attention to hydration, progressive heat
acclimatization, and graduated condition and training. (O’Connor Article, p. 2051;
Quattrone Article, p. 7; Tsaras Article, p. 510.) These are prospective
interventions, not reactive treatment. And even utilizing these precautions,
exercise-related death continued to occur. The literature highlights that it is even
difficult to definitively evaluate the effectiveness of the preventative approach.
(O’Connor Article, p. 2050.)
                                         15
emergency that falls to first responders rather than to hematologists or others with

appropriate expertise in sickle cell disease. (Blinder Article, p. 69.) Only a few

organizations have published treatment recommendations, and there are no well-

designed studies in the medical literature describing successful or unsuccessful

approaches. (Id.) While many organizations have overlapping ideas on how to

manage suspected ECAST, their suggestions and opinions vary and fail to provide

consistent advice for those caring for athletes or others who might be at risk. (Id.)

No approach has been tested in a clinical study. (Id.)

      Even if one were to assume that these defendants should have recognized an

ECAST event and started oxygen and fluids, Dr. Sperry can offer no opinion as to

the specific recommended use of oxygen and fluids for treatment of sickling –

because no such use has been proven to be effective. (Sperry Depo., p. 186, l:21-

25.) Dr. Sperry concedes that he is unaware of any specific recommendation as to

what type of fluids to provide; the certain rate at which to provide these generic

fluids; the quantity of fluids to provide; how long to provide the fluids; or, at what

point in the ECAST process to provide the fluids. (Id., p. 152, l:24-25, p. 153, l:1-

3, 18-20, p. 187, l:21-25, p. 188, l:1.) In terms of oxygen, he admittedly has no

knowledge as to what level of oxygen is administered to an ECAST patient or for

how long. (Id., p. 155, l:6-12, p. 186, l:21-25.) In fact, Dr. Sperry admits that the

                                         16
pathophysiology of what occurs when a patient is given oxygen and fluids for an

ECAST event is unknown. (Id., p. 71, l:21-25, 72, l:1-4.) Suffice it to say, the ipse

dixit nature of Dr. Sperry’s treatment is exposed by his inability to provide any

details on the purported treatment and what actual impact it would have on a

pathophysiological level.

      3. Dr. Sperry Has No Reliable Basis to Opine That Had These Defendants
         Administered Oxygen and Fluids to Wilson, It Is More Probable Than
         Not that Wilson Would Have Survived

      At the outset, Dr. Sperry admits that there is not a single evidence-based

study that supports his opinion that Wilson’s death could have been prevented

through use of oxygen and fluids.

             Q: You are not able to cite to us any peer review study
             that would support the proposition that providing prompt
             fluids and oxygen would result in reduced mortality?

             A: Okay. As far as specific studies that reach that
             conclusion, no. I mean that gets back to what I read to
             you. There are no, you know, evidence-based studies
             that, that are able to statistically arrive at that
             conclusion.

(Sperry Depo., p. 171, l:10-19.)

             Q: And while you believe that hydration and oxygen
             would have saved [Wilson’s] life, there is no scientific
             peer review article which establishes that to true, correct?

             A: That’s correct.

                                         17
(Sperry Depo., p. 183, l:17-21.) Such a study does not exist. (Sperry Depo., p. 171,

l:20-25, p. 184, l:15-20.) There is, in fact, no data or study to support the

hypothesis that provision of oxygen and fluids increases survivability in an ECAST

patient to any degree, much less “more likely than not” as Sperry would have the

Court and a jury believe. (Sperry Depo., p. 174, l:19-24, p. 175, l:1-5.)

      Again, Dr. Sperry’s survivability opinion is ipse dixit. He simply draws the

conclusion that Wilson would have survived if he was provided with oxygen and

fluids. (Sperry Depo., p. 183, l:17-25, p. 184, l:1-4.) At the same time, he has no

choice but to concede that no literature draws the conclusion that lives would be

saved by the administration of oxygen and fluids. (Sperry Depo., p. 184, l:5-20.)

      This is so because there are so many unknown factors as it relates to an

ECAST event; it is impossible to determine what interventions, if any, would have

increased survivability. (Sperry Depo., p. 179, l:12-19.) Furthermore, because of

the ethical and practical difficulties associated with experimenting possible

treatments, there are no evidence-based studies to support any survivability

opinion.17 In fact, the literature is based upon case reports of people who have died

from the event. Thus, Dr. Sperry’s opinion that oxygen and fluids would have
17
   Dr. Sperry’s articles make clear that no one is capable of giving a survivability
opinion as it relates to ECAST given the various unknowns that still exist and the
lack of studies.
                                          18
affected Wilson’s survivability, much less saved Wilson’s life, has absolutely no

basis and consists solely of ipse dixit. Such an unreliable and unfounded opinion

must be excluded. Fed. R. Evid. 702(b), (c), and (d).

      4. Dr. Sperry Has No Reliable Basis to Opine That Had These Defendants
         Transported Wilson to the Hospital, It Is More Probable Than Not that
         Wilson Would Have Survived

      Given that there is no intervention or treatment proven to be effective, there

is no competent basis to support Dr. Sperry’s opinion that transport to the hospital

would have prevented Wilson’s death. To the contrary, even if these defendants

had transported Wilson to the hospital, it remains speculative that the medical

providers at the hospital would have recognized that Wilson was experiencing an

ECAST event. Again, Dr. Sperry acknowledges that ECAST is rarely, if ever, a

clinical diagnosis at and around the time of the event. (Sperry Depo., p. 143, l:22-

24.) Instead, the event is usually recognized at autopsy. (Id.) Further, had the

providers been able to guess correctly that Wilson was experiencing an ECAST

event, as addressed above, there is no known effective treatment that ensures

survivability for an ECAST event.        Thus, Dr. Sperry’s opinion is wholly

speculative and must be excluded.

      In sum, courts have recognized “over and over that an expert’s ipse dixit is

inadmissible. ‘An expert who supplies nothing but a bottom line supplies nothing


                                        19
of value to the judicial process.’” Wendler & Ezra, P.C. v. American Int’l Group,

521 F.3d 790, 791 (7th Cir. 2008) (citations omitted); see also General Electric

Co. v. Joiner, 522 U.S. 136, 146, 118 S. Ct. 512 (1997) (“nothing in either Daubert

or the Federal Rules of Evidence requires a district court to admit opinion evidence

that is connected to existing data only by the ipse dixit of the expert”).

      Here, a plain reading of the articles Dr. Sperry relies upon demonstrates that

there is no data or literature supporting his opinion that fluids and oxygen are an

effective treatment for an ECAST event. Furthermore, Dr. Sperry admits that there

are no studies or articles or data of which he is aware that support that his

speculation that administration of oxygen and provision of fluids in addition to

transport to a hospital would have prevented Wilson’s death. In sum, Dr. Sperry’s

opinions are nothing more than inadmissible ipse dixit.

                               III.   CONCLUSION

      Not only is Dr. Sperry unqualified to opine as to the clinical diagnosis and

treatment of ECAST, but his opinions are completely unreliable and speculative.

Even with the benefit of hindsight and knowledge that a patient was experiencing

ECAST, there is no established treatment for such an event; only guidelines

recommended by a few organizations with no data or evidence to support their

effectiveness. And there is absolutely no peer-reviewed literature or studies that

                                          20
conclude, or even suggest, that administration of oxygen and fluids would prevent

the death of someone experiencing ECAST. Therefore, these defendants request

that the Court grants its motion excluding these opinions of Dr. Sperry.

                                       Respectfully submitted,

                                       FREEMAN MATHIS & GARY, LLP

                                       /s/ Sara E. Brochstein
                                       Sun S. Choy
                                       Georgia Bar No. 025148
                                       schoy@fmglaw.com
                                       Sara E. Brochstein
                                       Georgia Bar No. 446366
                                       sbrochstein@fmglaw.com

                                       Attorneys for Defendants Bryan Porterfield
                                       and Sean Flack
100 Galleria Parkway, Suite 1600
Atlanta, GA 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)
3621038v1




                                         21
                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned counsel hereby certifies that

the foregoing memorandum of law was prepared in Times New Roman 14-point

font, in compliance with Local Rule 5.1(C).

      This 2nd day of November, 2018.

                                     FREEMAN MATHIS & GARY, LLP


                                     /s/ Sara E. Brochstein
                                     Sara E. Brochstein
                                     Georgia Bar No. 446366
                                     sbrochstein@fmglaw.com

100 Galleria Parkway
Suite 1600
Atlanta, Georgia 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)




                                        22
                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS BRYAN

PORTERFIELD AND SEAN FLACK’S MOTION TO EXCLUDE OPINIONS

OF PLAINTIFFS’ EXPERT DR. KRIS SPERRY to the Clerk of Court using the

CM/ECF system which will automatically send electronic mail notification of such

filing to counsel of record who are CM/ECF participants. Counsel of record are:

        Jeffrey R. Filipovits                         Harvey S. Gray
     FILIPOVITS LAW FIRM, P.C.                        Dianna J. Lee
2900 Chamblee-Tucker Road, Bldg. 1            GRAY RUST ST. AMAND MOFFETT &
         Atlanta, GA 30341                            BRIESKE, LLP
                                                 950 East Paces Ferry Rd.,
        Brian R. Dempsey                            1700 Atlanta Plaza
    CAROTHERS & Mitchell, LLC                       Atlanta, GA 30326
      1809 Buford Highway
      Buford, Georgia 30518                            G. Brian Spears
                                                 1126 Ponce de Leon Avenue
                                                     Atlanta, GA 30306

      This 2nd day of November, 2018.

                                             //s// Sara E. Brochstein
                                             Sara E. Brochstein
                                             Georgia Bar No. 446366
FREEMAN MATHIS & GARY, LLP                   sbrochstein@fmglaw.com
100 Galleria Parkway, Suite 1600
Atlanta, GA 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)



                                        23
